Case 17-50599-wlh       Doc 62     Filed 05/20/19 Entered 05/20/19 15:13:09           Desc Main
                                   Document Page 1 of 4



                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION


 IN RE:                                             )   CHAPTER 13
 JEMIL RONU DADE                                    )   CASE NUMBER A17-50599-WLH
                                                    )
    DEBTOR                                          )



                                    MOTION TO DISMISS
     COMES NOW Nancy J. Whaley, Standing Chapter 13 Trustee, in the above styled case, and
 respectfully shows the Court as follows:

                                              1.

    Debtor filed a petition for relief under Chapter 13 of Title 11.

                                               2.

     Debtor's Plan will exceed sixty months by four (4) months in violation of 11 U.S.C. 1322(d)
 (2)(C) and 11 U.S.C. 1307(c).


                                               3.

     Debtor has failed to tender all plan payments due in accordance with the confirmed plan. As
 of 5/20/2019 the Trustee received a total of $34,705.00. The Trustee's records indicate the
 amount delinquent is $6,600.00. A receipt history is attached and marked exhibit A.


    Wherefore, the Trustee prays that this case be dismissed or in alternative that the Debtor
 proposes a modification to meet the requirements of the confirmed plan that ensures that the
 plan is completed within the allowable time.

 This the 20th day of May, 2019.


 /s/________________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
Case 17-50599-wlh      Doc 62      Filed 05/20/19 Entered 05/20/19 15:13:09       Desc Main
                                   Document Page 2 of 4




 This the 20th day of May, 2019.     EXHIBIT "A"


  /s/________________________________________
 CASE NO: A17-50599-WLH                                    05/20/2019
    RyanRONU
 JEMIL    J. Williams
                 DADE
    Attorney for the Chapter 13 Trustee
    State Bar No. 940874
    303 PeachtreeRECEIPT     HISTORY
                   Center Avenue, NE OVER THE LAST 12 MONTHS
    Suite 120
    Atlanta, GA 30303
 DATE                       TYPE         SOURCE           AMOUNT
    678-992-1201
 April 03, 2019          EPAYPR           5755892000                    $850.00
 March 04, 2019          EPAYPR           5675682000                  $1,650.00
 February 14, 2019       EPAYPR           5622415000                    $650.00
 February 05, 2019       EPAYPR           5599637000                  $1,000.00
 January 03, 2019        EPAYPR           5514239000                  $1,650.00
 December 06, 2018       EPAYPR           5451774000                    $450.00
 December 04, 2018       EPAYPR           5443359000                  $1,200.00
 November 01, 2018       EPAYPR           5355753000                    $650.00
 October 30, 2018        EPAYPR           5350718000                  $1,000.00
 October 10, 2018        EPAYPR           5298277000                  $1,600.00
 September 04, 2018      EPAYPR           5204353000                  $1,600.00
 July 31, 2018           EPAYPR           5111982000                  $1,400.00
 July 03, 2018           EPAYPR           5042877000                  $1,000.00
 May 29, 2018            EPAYPR           4943817000                  $1,450.00

                                          Receipt Total:           $16,150.00
Case 17-50599-wlh       Doc 62     Filed 05/20/19 Entered 05/20/19 15:13:09             Desc Main
                                   Document Page 3 of 4



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION


 IN RE:                                           )    CHAPTER 13
 JEMIL RONU DADE                                  )    CASE NUMBER A17-50599-WLH
                                                  )
    DEBTOR                                        )




                 NOTICE OF HEARING ON MOTION TO DISMISS CASE

 PLEASE TAKE NOTICE that the Chapter 13 Trustee has filed a Motion to Dismiss and related
 exhibits with the Court seeking an Order of Dismissal.

 PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on June 19, 2019 at
 1:50 PM in Courtroom 1403, Richard Russell Building, 75 Ted Turner Drive, S.W.,
 Atlanta, GA. 30303.

 Failure to appear at the hearing or failure to resolve the matter prior to the hearing may result in
 the dismissal of your case. You should read this motion carefully and discuss it with your
 attorney, if you have one in your bankruptcy case. (If you do not have an attorney, you may
 wish to consult one.) If you do not want the Court to grant the dismissal of your case, you
 and/or your attorney must attend the hearing unless you have settled the matter prior to the
 hearing.


 This the 20th day of May, 2019.


 /s/________________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
Case 17-50599-wlh       Doc 62     Filed 05/20/19 Entered 05/20/19 15:13:09           Desc Main
                                   Document Page 4 of 4




                                 CERTIFICATE OF SERVICE
 Case No: A17-50599-WLH

 This is to certify that I have this day served the following with a copy of the foregoing Chapter
 13 Trustee's Motion to Dismiss by depositing in the United States mail a copy of same in a
 properly addressed envelope with adequate postage thereon.

 Debtor(s):
 JEMIL RONU DADE
 1104 WYNFORD COMMONS S
 MARIETTA, GA 30064




 By Consent of the parties, the following have received an electronic copy of the foregoing
 Chapter 13 Trustee's Motion to Dismiss through the Court's Electronic Case Filing system.
 Attorney for the Debtor(s):
 LAW OFFICE OF DANIELLE J. ELIOT
 ecfdjma@gmail.com




 This the 20th day of May, 2019.


 /s/____________________________________
   Ryan J. Williams
   Attorney for the Chapter 13 Trustee
   State Bar No. 940874
   303 Peachtree Center Avenue, NE
   Suite 120
   Atlanta, GA 30303
   678-992-1201
